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 9
                         UNITED STATES DISTRICT COURT
10
                       SOUTHERN DISTRICT OF CALIFORNIA
11
12 IRONSHORE SPECIALTY                         Case No: 21-cv-1249-L-DEB
13 INSURANCE COMPANY,
                                               NOTICE OF RELATED CASE
14
                       Plaintiff,
15
                                               Judge:      Hon. M. James Lorenz
16              v.
                                               Mag. Judge: Hon. Daniel E. Butcher
17
   THE CROSBY ESTATE AT RANCHO
18 SANTA FE MASTER ASSOCIATION,
19
                Defendant.
20
21
22        TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
23 RECORD:
24        Defendant The Crosby Estate at Rancho Santa Fe Master Association (“The
25 Crosby”) hereby submits this Notice of Related Case pursuant to Civil Local Rule
26 40.1.f. The present case is related to The Crosby Estate at Rancho Santa Fe Master
27 Association v. Ironshore Specialty Insurance Company, Case No. 19-cv-02369-
28
                                                               Case No: 21-cv-1249-L-DEB
                                    NOTICE OF RELATED CASE
                                               1
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 1 WQH-NLS (“The Crosby I”), which was filed on December 10, 2019, and is
 2 currently pending before The Honorable William Q. Hayes.
 3         This case is related to The Crosby I in that it (1) involves the same parties –
 4 Ironshore Specialty Insurance Company (“Ironshore”) and The Crosby; (2) involves a
 5 Not-for-Profit Directors and Officers Liability Insurance Policy that is a renewal of
 6 the same policy at issue in The Crosby I; and (3) seeks declaratory relief regarding the
 7 applicability of the policy’s retention where an insured has tendered the defense of a
 8 claim triggering Ironshore’s duty to defend – the precise issue upon which The
 9 Honorable William Q. Hayes has already ruled in connection with The Crosby’s
10 motion for partial summary judgment in The Crosby I (see ECF #37 at pp. 21-24).
11         Assigning this case to a single District Judge is likely to effect a saving of
12 judicial effort and other economies because The Honorable William Q. Hayes is
13 familiar with the subject insurance policy and, in a published decision (498 F.
14 Supp.3d 1242), has already analyzed and ruled upon the precise issue on which
15 Ironshore seeks declaratory relief in this action.
16 Dated: July 26, 2021
17                                          Respectfully submitted,

18                                          FRANKLIN | SOTO LLP
19
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28                                                    Case No: 21-cv-1249-L-DEB
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                                   NOTICE OF RELATED CASE
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